            Case 1:18-cv-01564-EGS Document 6 Filed 11/12/18 Page 1 of 5



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
DONG YEON KIM, et al.                )
                                     )
            Plaintiffs               )
                                     )  Civil Action No. 18-1564 (EGS)
            v.                       )  (ECF)
                                     )
UNITED STATES CITIZENSHIP,          )
& IMMIGRATION SERVICES, et al.      )
                                    )
            Defendants.              )
____________________________________)

                MOTION TO ENLARGE TIME TO FILE DEFENDANTS’
             ANSWER OR OTHER RESPONSE TO PLAINTIFFS’ COMPLAINT

       Pursuant to Fed. R. Civ. P. 6(b)(1)(A), the United States Citizenship and Immigration

Services, et al. (“Defendants”), by and through the undersigned counsel, respectfully request this

enlargement of time until January 15, 2019, to file Defendants’ Answer or Other Response to the

complaint filed by Dong Yeon Kim, et al. (“Plaintiffs”). In support, Defendants states the

following:

       1.      Plaintiffs commenced this action pursuant to the Immigration and Nationality Act,

8 U.S.C. § 1101 et seq., the Mandamus Act, 28 U.S.C. § 1361, and the Administrative Procedure

Act, 5 U.S.C. § 701 et seq., seeking “to compel a decision on his application for an immigrant

visa.” See generally ECF No. 1. Defendants’ response to Plaintiffs’ complaint is due

tomorrow.

       2.      On or about August 16, 2018, Defendants “reaffirmed” Plaintiff Kim’s visa

application and forwarded it to the consulate for processing. Since then, the Consulate has

informed Plaintiff Kim of the requirements and documentation needed for an adjudication of the

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              Case 1:18-cv-01564-EGS Document 6 Filed 11/12/18 Page 2 of 5



visa application and invited Plaintiff Kim back to the consulate. The Consulate reports that it

has not yet heard back from Plaintiff Kim.

        3.       The undersigned has notified Opposing Counsel of this recent development and of

the need for Plaintiff Kim to contact the Consulate. The Consulate expects to adjudicate

Plaintiff Kim’s application after the required documents and/or interview are completed.

        4.       It appears that to further this litigation, Plaintiff has been attempting to perfect

service on all Defendants. ECF No. 5; Minute Order dated November 6, 2018. Thus, the

undersigned respectfully request this enlargement of time to enable an adjudication of Plaintiff

Kim’s visa application, which could moot this action and obviate the need for additional

litigation.

        5.       Pursuant to LCvR 7(m), the undersigned conferred with Plaintiffs’ counsel who

graciously consented to this request.

        WHEREFORE, Defendants respectfully request that the Court grant the requested relief.

A proposed Order reflecting the requested relief is respectfully attached for the Court’s

consideration, but a Minute Order would be just as welcome if the Court prefers.

November 12, 2018                                Respectfully submitted,


                                                 JESSIE K. LIU, D.C. Bar # 472845
                                                 United States Attorney
                                                 for the District of Columbia

                                                 DANIEL F. VAN HORN, D.C. Bar # 924092
                                                 Civil Chief




                                                    2
Case 1:18-cv-01564-EGS Document 6 Filed 11/12/18 Page 3 of 5



                           By:       /s/
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                              3
          Case 1:18-cv-01564-EGS Document 6 Filed 11/12/18 Page 4 of 5



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
DONG YEON KIM, et al.                )
                                     )
            Plaintiffs               )
                                     )  Civil Action No. 18-1564 (EGS)
            v.                       )  (ECF)
                                     )
KRISTINE R. CRANDALL, et al.         )
                                     )
            Defendants.              )
____________________________________)

                                            ORDER

       After considering this motion, the record herein, and applicable law,

       it is this ____ day of ________________, 201_, hereby

       ORDERED, that the Defendants’ motion is hereby GRANTED; and it is

       FURTHER ORDERED, that Defendants shall file an Answer or Other Response to

Plaintiffs’ complaint no later than January 15, 2019.

       SO ORDERED

                                             __________________________________________
                                                HON. EMMET G. SULLIVAN, U.S.D.J.




                                                4
          Case 1:18-cv-01564-EGS Document 6 Filed 11/12/18 Page 5 of 5



                               CERTIFICATE OF SERVICE

       I certify that I caused a copy of the this Defendants’ Motion to Enlarge Time to be served

upon Plaintiffs’ counsel via ECF.



                                                        /s/
                                            KENNETH ADEBONOJO
                                            Assistant United States Attorney
